Case 2:23-cv-03502-AB-PVC Document 1 Filed 05/08/23 Page 1 of 7 Page ID #:1



 1 Mathew K. Higbee, Esq. SBN 241380
   Ryan E. Carreon, Esq., SBN 311668
 2 HIGBEE & ASSOCIATES
   1504 Brookhollow Dr., Suite 112
 3 Santa Ana, CA 92705
   (714) 617-8373
 4 (714) 597-6559 facsimile
   Email: mhigbee@higbee.law
 5 rcarreon@higbee.law
 6 Attorney for Plaintiff,
   Melissa Lyttle,
 7
 8                          UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA
 9
     MELISSA LYTTLE                                Case No. 2:23-cv-3502
10
                               Plaintiff,          COMPLAINT FOR DAMAGES AND
11                                                 INJUNCTIVE RELIEF
     v.
12                                                 (1) COPYRIGHT INFRINGEMENT
   XFL PROPERTIES LLC; and DOES 1
13 through 10 inclusive,
14                       Defendant.                DEMAND FOR JURY TRIAL
15
16
17
            Plaintiff, Melissa Lyttle alleges as follows:
18
                                 JURISDICTION AND VENUE
19
            1.     This is a civil action seeking damages and injunction relief for
20
     copyright infringement under the Copyright Act of the United States, 17 U.S.C. §
21
     101 et seq.
22
            2.     This Court has subject matter jurisdiction over Plaintiff’s claims for
23
     copyright infringement pursuant to 28 U.S.C. § 1331 and 28 U.S.C. § 1338(a).
24
            3.     This Court has personal jurisdiction over Defendant because Defendant
25
     conducts business and/or resides within this judicial district, Defendant’s acts of
26
     infringement complained of herein occurred in this judicial district, and Defendant
27
     caused injury to Plaintiff within this judicial district.
28
            4.     Venue in this judicial district is proper under 28 U.S.C. § 1391(c) and
                                                 1
                                              COMPLAINT
Case 2:23-cv-03502-AB-PVC Document 1 Filed 05/08/23 Page 2 of 7 Page ID #:2



 1 1400(a) in that this is the judicial district in which a substantial part of the acts and
 2 omissions giving rise to the claims occurred. Alternatively, venue is also proper
 3 pursuant to 28 U.S.C. § 1400(b) because the Defendant resides and has a regular and
 4 established place of business in this judicial district.
 5                                         PARTIES
 6          5.     Plaintiff Melissa Lyttle (“Lyttle”) is an individual who resides in
 7 Washington, DC.
 8          6.     Defendant XFL Properties, LLC (“Defendant” or “XFL Properties”) is
 9 a Delaware limited liability company with a principal place of business in Beverly
10 Hills, California.
11          7.     Plaintiff is unaware of the true names and capacities of the Defendants
12 sued herein as DOES 1 through 10, inclusive, and for that reason, sues such
13 Defendants under such fictitious names. Plaintiff is informed and believes and on that
14 basis alleges that such fictitiously named Defendants are responsible in some manner
15 for the occurrences herein alleged, and that Plaintiff’s damages as herein alleged
16 were proximately caused by the conduct of said Defendants. Plaintiff will seek to
17 amend the complaint when the names and capacities of such fictitiously named
18 Defendants are ascertained. As alleged herein, “Defendant” shall mean all named
19 Defendants and all fictitiously named Defendants.
20          8.     For the purposes of this Complaint, unless otherwise indicated,
21 “Defendant” includes all agents, employees, officers, members, directors, heirs,
22 successors, assigns, principals, trustees, sureties, subrogates, representatives and
23 insurers of the Defendants named in this caption.
24                               FACTUAL ALLEGATIONS
25                                    Plaintiff Lisa Corson
26          9.     Melissa Lyttle is a successful commercial, editorial, and portrait
27 photographer.
28          10.    Lyttle’s client list includes Adidas, Pfizer, Starbucks, ESPN, Esquire,
                                               2
                                            COMPLAINT
Case 2:23-cv-03502-AB-PVC Document 1 Filed 05/08/23 Page 3 of 7 Page ID #:3



 1 The New York Times, Sports Illustrated, and CNN.
 2         11.   A portfolio of Lyttle’s work is available for viewing by general public
 3 through her website www.melissalyttle.com.
 4         12.   On March 6 2020, a representative from Alpha Entertainment, which
 5 then owned XFL (“Alpha Entertainment XFL”), contacted Lyttle and requested her
 6 photography services at a March 8, 2020 D.C. Defenders and St. Louis Battlehawks
 7 football game (the “Game”)
 8         13.   Lyttle and the XFL representative agreed to a rate of $850 for Lyttle’s
 9 services and in exchange for payment, Alpha Entertainment would retain full rights
10 to the photographs.
11         14.   Lyttle provided Alpha Entertainment XFL with several invoices for
12 payment from March to May 2020 for the photography work she performed at the
13 Game.
14         15.   Lyttle was never notified that any of the images from the Game were
15 selected for publication.
16         16.   Lyttle never received payment for her services at the Game and
17 therefore no license was ever granted to Alpha Entertainment XFL or its successors.
18         17.   Three of Lyttle’s photographs from the March 8th game were ultimately
19 selected for publication on Alpha Entertainment’s website (“Football Photographs”).
20         18.   Attached hereto as Exhibit A are a true and correct copies of the
21 Football Photographs.
22         19.   Lyttle has registered the Football Photographs with the United States
23 Copyright Office under registration number VA 2-202-017.
24                             Defendant XFL Properties LLC.
25         20.   According to its website, XFL Properties is a professional football
26 league with a focus on fan interaction and innovation through fan involvement. See
27 generally www.xfl.com/about.
28         21.   In March 2020, www.xfl.com was owned and operated by Alpha
                                            3
                                         COMPLAINT
Case 2:23-cv-03502-AB-PVC Document 1 Filed 05/08/23 Page 4 of 7 Page ID #:4



 1 Entertainment LLC, a Delaware limited liability company.
 2          22.   On April 13, 2020, Alpha Entertainment LLC filed for bankruptcy.
 3          23.   In August 2020, www.xfl.com was purchased by Alpha Aquico LLC.
 4          24.   On August 18, 2020, Defendant XFL Properties LLC was registered as
 5 a limited liability company under Delaware law with office locations listed in
 6 Connecticut.
 7          25.   According to the Connecticut Secretary of State website, Defendant’s
 8 principal place of business is 9100 Wilshire Blvd., STE 1000W, Beverly Hill, CA,
 9 90212, United States.
10          26.   Attached hereto as Exhibit B is a true and correct copy of the
11 Defendant’s registration as an LLC with the Connecticut Secretary of State, showing
12 that their principal place of business is California.
13                             Defendant’s Infringing Conduct
14          27.   On or about June 15, 2021, Lyttle discovered, that despite never being
15 paid for her work, never being notified that any of the images shot at the Game were
16 selected for publication, and Alpha Entertainment LLC’s bankruptcy filing, the
17 Football Photographs were published in an article titled “Must-See Photos: Defenders
18 vs. Battlehawks” (“Infringing Post”).
19          28.   True and correct screenshots of the Football Photographs being
20 displayed with the Infringing Post are attached hereto as Exhibit C.
21          29.   On June 16, 2021, Lyttle, through counsel, reached out to XFL
22 Properties to inform them that Lyttle was never paid for her work by Alpha
23 Entertainment and therefore no license ever existed for XFL Properties’ use of the
24 Football Photographs.
25          30.   On information and belief, XFL Properties did not remove the Football
26 Photographs until at least May 2022, despite communication from Lyttle’s counsel
27 regarding the copyright violations and unlicensed use of the Football Photographs.
28          31.   On information and belief, Defendant’s use of the Football Photographs
                                              4
                                           COMPLAINT
Case 2:23-cv-03502-AB-PVC Document 1 Filed 05/08/23 Page 5 of 7 Page ID #:5



 1 was deliberate and willful because it knew or should have known that it did not
 2 purchase a license to use the Football Photographs.
 3                            FIRST CAUSE OF ACTION
                             COPYRIGHT INFRINGEMENT
 4                               17 U.S.C. § 101 et seq.
 5          32.   Plaintiff incorporates by reference all of the above paragraphs of this
 6 Complaint as though fully stated herein. Plaintiff did not consent to, authorize,
 7 permit, or allow in any manner the said use of Plaintiff’s unique and original Football
 8 Photographs.
 9          33.   Plaintiff is informed and believes and thereon alleges that the
10 Defendants willfully infringed upon Plaintiff’s copyrighted Football Photographs in
11 violation of Title 17 of the U.S. Code, in that it used, published, communicated,
12 benefited through, posted, publicized, and otherwise held out to the public for
13 commercial benefit, the original and unique Football Photographs of the Plaintiff
14 without Plaintiff’s consent or authority, and acquired monetary gain and market
15 benefit as a result.
16          34.   Specifically, Defendant made an unauthorized copy and then publicly
17 displayed the Football Photographs with the Infringing Post on Defendant’s Website.
18          35.   As a result of Defendants’ violations of Title 17 of the U.S. Code,
19 Plaintiff is entitled to any actual damages pursuant to 17 U.S.C. §504(b), or statutory
20 damages in an amount up to $150,000.00 if willful or up to $30,000 if unintentional
21 pursuant to 17 U.S.C. § 504(c).
22          36.   Plaintiff is also entitled to injunctive relief to prevent or restrain
23 infringement of her copyright pursuant to 17 U.S.C. § 502.
24   ///
25   ///
26   ///
27   ///
28   ///
                                             5
                                          COMPLAINT
Case 2:23-cv-03502-AB-PVC Document 1 Filed 05/08/23 Page 6 of 7 Page ID #:6



 1
 2                                PRAYER FOR RELIEF
 3 WHEREFORE, Plaintiff prays for judgment against Defendant as follows:
 4 •       For an award of actual damages and disgorgement of all of Defendant’s
 5 profits attributable to the infringement as provided by 17 U.S.C. § 504 in an amount
 6 to be proven or, in the alternative, at Plaintiff’s election, an award for statutory
 7 damages against Defendant in an amount up to $150,000.00 for each infringement
 8 pursuant to 17 U.S.C. § 504(c), whichever is larger;
 9 •       For costs of litigation and reasonable attorney’s fees against each Defendant
10 pursuant to 17 U.S.C. § 505;
11 •       For an injunction preventing each Defendant from further infringement of all
12 copyrighted works of the Plaintiff pursuant to 17 U.S.C. § 502;
13 •       For pre judgment interest as permitted by law; and
14 •       For any other relief the Court deems just and proper.
15
16 Dated: May 8, 2023                            Respectfully submitted,
17                                               /s/ Mathew K. Higbee
                                                 Mathew K. Higbee, Esq.
18                                               Cal. Bar No. 241380
                                                 HIGBEE & ASSOCIATES
19                                               1504 Brookhollow Dr., Ste 112
                                                 Santa Ana, CA 92705-5418
20                                               (714) 617-8373
                                                 (714) 597-6559 facsimile
21                                               Counsel for Plaintiff
22
23
24
25
26
27
28
                                            6
                                         COMPLAINT
Case 2:23-cv-03502-AB-PVC Document 1 Filed 05/08/23 Page 7 of 7 Page ID #:7



 1                            DEMAND FOR JURY TRIAL
 2        Plaintiff, Melissa Lyttle hereby demands a trial by jury in the above matter.
 3
 4 Dated: May 8, 2023                             Respectfully submitted,
 5                                                /s/ Mathew K. Higbee
                                                  Mathew K. Higbee, Esq.
 6                                                Cal. Bar No. 241380
                                                  HIGBEE & ASSOCIATES
 7                                                1504 Brookhollow Dr., Ste 112
                                                  Santa Ana, CA 92705-5418
 8                                                (714) 617-8373
                                                  (714) 597-6559 facsimile
 9                                                Counsel for Plaintiff
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
                                             7
                                          COMPLAINT
